                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS


                                                              C.A. No. 16-CV-11666-LTS

EDWARD T. JONES,

       Plaintiff,

       v.

COMMONWEALTH OF MASSACHUSETTS, ET AL.,

       Defendants.

             DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

       Now come the defendants, Lisa Mitchell, Michael Devine, and John Camelo, in

the above matter and respectfully request that this Honorable Court grant summary

judgment as to the claims against them pursuant to Fed. R. Civ. P. 56. The defendants

attach hereto a memorandum of law in support of their motion.

                                       DEFENDANTS,
                                       By their attorney,

                                       NANCY ANKERS WHITE
                                       Special Assistant Attorney General

Dated: September 13, 2019              /s/ Daryl F. Glazer___________________
                                       Daryl F. Glazer
                                       BBO #567138
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                                       Legal Division
       .                               Department of Correction
                                       70 Franklin Street, Suite 600
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                             CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing
and that on this date a copy of this document was mailed, first class postage, to the
plaintiff at his address, OCCC, 1 Administration Road, Bridgewater, MA 02324.

September 13, 2019                                   /s/ Daryl F. Glazer
                                                     Daryl F. Glazer
